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COUNSEL FOR WELLS FARGO BANK, NATIONAL ASSOCIATION, AS TRUSTEE, FOR THE BENEFIT OF THE
REGISTERED HOLDERS OF UBS COMMERCIAL MORTGAGE TRUST 2019-C16 COMMERCIAL MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2019-C16 IN ITS CAPACITY AS A-2-1 NOTEHOLDER AND LEAD SECURITIZATION
NOTEHOLDER ON BEHALF OF THE RELATED COMPANION NOTEHOLDERS WELLS FARGO BANK, NATIONAL
ASSOCIATION, AS TRUSTEE, FOR THE BENEFIT OF THE REGISTERED HOLDERS OF UBS COMMERCIAL
MORTGAGE TRUST 2018-C15 COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2018-C15 AND
WILMINGTON TRUST, NATIONAL ASSOCIATION, AS TRUSTEE, FOR THE BENEFIT OF WELLS FARGO
COMMERCIAL MORTGAGE TRUST 2019-C50 COMMERCIAL MORTGAGE PASS-THROUGH CERTIFICATES, SERIES
2019-C50, BY AND THROUGH MIDLAND LOAN SERVICES, A DIVISION OF PNC BANK, N.A. AS SPECIAL SERVICER
FOR THE LEAD SECURITIZATION NOTEHOLDER


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                           §
In re:                                                     §     Chapter 11
                                                           §
GVS TEXAS HOLDINGS I, LLC, et al., 1                       §     Case No. 21-31121-MVL
                                                           §
         Debtors.                                          §     (Jointly Administered)


                                       NOTICE OF APPEARANCE




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: GVS Texas Holdings I, LLC (7458); GVS Portfolio I B, LLC (7171); GVS Portfolio I, LLC
(6441); WC Mississippi Storage Portfolio I, LLC (0423); GVS Nevada Holdings I, LLC (4849); GVS Ohio Holdings I,
LLC (6449); GVS Missouri Holdings I, LLC (5452); GVS New York Holdings I, LLC (5858); GVS Indiana Holdings I,
LLC (3929); GVS Tennessee Holdings I, LLC (5909); GVS Texas Holdings II, LLC (1225); GVS Ohio Holdings II,
LLC (2376); GVS Illinois Holdings I, LLC (9944); and GVS Colorado Holdings I, LLC (0408). The location of the
Debtors’ service address is: 814 Lavaca Street, Austin, Texas 78701.
_____________________________________________________________________________________________________________________
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        Please take notice that Joseph M. Coleman, John J. Kane with the law firm of Kane Russell

Coleman Logan PC, hereby enters his appearance as counsel of record in the above-captioned

jointly administered bankruptcy case Wells Fargo Bank, National Association, as Trustee, for the

benefit of the Registered Holders of UBS Commercial Mortgage Trust 2019-C16 Commercial

Mortgage Pass-Through Certificates, Series 2019-C16 in its capacity as A-2-1 Noteholder and Lead

Securitization Noteholder on behalf of the related companion noteholders Wells Fargo Bank,

National Association, as Trustee, for the benefit of the Registered Holders of UBS Commercial

Mortgage Trust 2018-C15 Commercial Mortgage Pass-Through Certificates, Series 2018-C15 and

Wilmington Trust, National Association, as Trustee, for the benefit of Wells Fargo Commercial

Mortgage Trust 2019-C50 Commercial Mortgage Pass-Through Certificates, Series 2019-C50, by

and through Midland Loan Services, a division of PNC Bank, N.A. as special servicer for the Lead

Securitization Noteholder (collectively, the “Trust”), and hereby requests that all notices given or

required to be given in this case and any cases consolidated herewith, and all papers served or

required to be served in this case and any cases consolidated herewith, be given to and served upon:

                                           Joseph M. Coleman
                                              John J. Kane
                                    KANE RUSSELL COLEMAN LOGAN PC
                                       901 Main Street, Suite 5200
                                           Dallas, Texas 75202
                                       E-mail: jcoleman@krcl.com
                                         E-mail: jkane@krcl.com

        This request encompasses all notices, copies, and pleadings contemplated or referred to in

Title 11 of the United States Code, and the Bankruptcy Rules, including without limitation copies of

any order, motions, demands, complaints, petitions, notices, pleadings or requests, applications and

any other documents filed with or brought before this Court in this case, whether formal or

informal, written or oral, or transmitted or conveyed by mail, delivery, telephone, telegraph, telex or

otherwise, which affects or seeks to affect the above case or affects or seeks to affect the Trusts.

_____________________________________________________________________________________________________________________
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        Please take notice that the undersigned intends that neither this notice nor any later

appearance, pleading, claim, or suit shall waive (i) the right to have final orders in non-core matters

entered only after de novo review by a District Court; (ii) the right to trial by jury in any proceeding so

triable in this case or any case, controversy, or proceeding related to this case; (iii) the right to have

the District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal; or (iv) any other rights, claims, actions, defenses, setoffs, or recoupments to which the

Trusts are or may be entitled under agreements, in law or in equity, all of which rights, claims,

actions, defenses, setoffs, and recoupments the Trusts expressly reserve.

Dated: July 20, 2021                                  Respectfully submitted,

                                                     KANE RUSSELL COLEMAN LOGAN PC


                                                     By:      /s/ Joseph M. Coleman
                                                              Joseph M. Coleman
                                                              State Bar No. 04566100
                                                              John J. Kane
                                                              State Bar No. 24066794

                                                     Bank of America Plaza
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                                                     E-mail: jcoleman@krcl.com
                                                     E-mail: jkane@krcl.com

                                                     LOCAL COUNSEL FOR TRUSTS


                                      CERTIFICATE OF SERVICE

        The undersigned certifies that on July 20, 2021, true and correct copies of the foregoing
Notice were forwarded to all parties receiving electronic notification in this case from the Court’s
electronic case filing (ECF) system.

                                                                       /s/Joseph M. Coleman
                                                                       Joseph M. Coleman


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